       Case 1:16-cr-10305-NMG Document 125 Filed 03/19/18 Page 1 of 2
        Case l:16-cr-10305-NMG Document 124 Filed03/16/18 Page lot2



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA
                                      )
V.                                    )       No. 16-10305-NMG

MARTIN GOTTESFELD,



               Defendant


     DEFENDANT'S MOTION TO EXTEND BY ONE DAY THE TIME TO
            FILE SUPPLEMENTARY MOTION TO SUPPRESS



        Defendant Martin Gottesfeld, through his attorney, hereby moves this Honorable Court

for an order extending the date by which he is to file asupplementary motion to suppress the
search warrant herein from March 16 to March 17, 2018.

        As reason therefore, undersigned counsel states that itis in the interests ofjustice that this
motion be allowed and that the government will not be unduly prejudiced thereby. In addition,
he adds that he requested their assent but has not had their reply by the filing hereof.


                                                       Respectfully submitted,

                                                       Martin Gottesfeld,
                                                       By his attomey,

                                                       /s/ Ravmond E. Gillespie
                                                       Raymond E. Gillespie
                                                       BBO #192300
                                                       875 Massachusetts Avenue Suite 32
                                                       Cambridge, MA 02139
                                                       (617) 661-3222
                                                       rgillespie 1@.prodigv.net




                                       Cr^                  2;oC>p.^. o-v                                if,
        Case 1:16-cr-10305-NMG Document 125 Filed 03/19/18 Page 2 of 2
         Case l:16-cr-10305-NMG Document 124 Filed 03/16/18 Page 2 of 2




                               CERTIFICATE OF SERVICE



       I hereby certify that on March 16,2018 the foregoing document has been served upon all
persons listed in the Notice ofElectronic Filing entered in the CM/ECF system in connection

                                            /s/ Raymond E. Gillespie
                                            Raymond E. Gillespie




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